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EXHIBIT M
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Loss Adjustment Expense Controt...{Ongoing — Assigned: Doug Walters}

Define, refine, andimplement strategies that will assist United Fire Group in contralling joss
adjustment expense {LAE).

For the purpose of this objective LAE is comprised of

Independent Adjustment Expense Cause and Origin Expense

Legal Professianal Expense Accident Reconstruction Expert Expense
Attorney Fees Expense Police Report Expense

Miscellaneous Expense Arbitration and Mediation Expense
Survelllance Expense Forensic Accountants

Medical Records Expense Medical Dill Review

Miscellaneous Medica] Expense Miscellaneous Attorney Fees

Salvage and Subrogation Expense

Strateqy

1.

Review adjuster productlon standards and revise ifneceSsary. Once standards set, put
controls in place ta see those standards are met.

2. Review and revise, lfnecessary, claim assignment criteriato ensure claims are being
assigned to the proper adjuster.

3. Independents will not be usedin areas where we have field staff unless approved by the
Supervisor.

4 Review where present independent adjuster expenses are being generated anc determine
ifterritory warrants staff adjuster.

5. Review staffAdjuster workloads, if possible expansion of staff Adjuster territories should be
considered ff staff workloads are less than production standards that have been put in
place.

6. Management personnel should periodically review all independent files and determina
which ones can 6e transferred to: staff for wrap up.

Y. Auditall expense billings for accuracy.

€. Active review of all expense billings evidentin the claim file on the billing itself orin the file
notes. :

9. Branch manager approval required to utilize accident reconstructionist, surveillance,
forensic accountants, and cause and origin experts.

Measurement

1. Compare claim countto LAE paid to determine average LSE paid per file. Hold average paid
per claim: at or below 2010 average paid per clalm. (This would now include all expenses.)

2. Compare earned premium to loss adjustment expense. Hold LAE percentage rate of

increase at or below earned premium percentage rate of increase. The banchmark for the
ALE incurred to earned premiumis 6%. This benchmark will be compared during 2041.

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